                           Case 4:19-cr-00572-KGB Document 47 Filed 10/24/19 Page 1 of 3
    AO 199A (Rev. 12/ll)OrderSettingConditionsofRelease                                                    Page I of   3   Pages

•          -                           UNITED STATES DISTRICT COURT
                                                          Eastern District of Arkansas                    FILED
                                                                                                        U.S. DISTRICT COURT
                                                                                                    EASTERN DISTRICT ARKANSAS




                     United States of America                                                     JAMES
                                                                                                  By:·-I.J,ba..4c:,,A.¥-~====~
                                 v.                                     Case No.: 4: 19CR00572-18 KGB

                    Kate Marie Vanvalkenburg



                                        ORDER SETTING CONDITIONS OF RELEASE

    IT IS_,ORDERED that the defendant's release is subject to these conditions:

    ( 1)       The defendant must not violate any federal, state or local law while on release.

    (2)        The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

    (3)        The defendant must advise the court or the pretrial services office or supervising officer in writing before making
               any change of residence or telephone number.

    (4)        The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence
               that the court may impose.

               The defendant must appear at Court Room 4C, Richard Sheppard Arnold United States Courthouse, 500 West .
               Capitol Avenue, Little Rock, Arkansas, before the Honorable Kristine G. Baker on 11/25/2019 at 9:30 a.m ..

                  If blank, defendant will be notified of next appearance.

    (5)        The defendant must sign an Appearance Bond, if ordered.
~                                          '           .
                                   Case 4:19-cr-00572-KGB Document 47 Filed 10/24/19 Page 2 of 3
 AO 199B (Rev. 12/11) (ARED Rev. 3/27/2018) Additional Conditions of Release

                                                         ADDITIONAL CONDITIONS OF RELEASE
                                                                                                                                         Page __L of _3_ Pages



           IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

       )       (6) The defendant is placed in the custody of:
                   Person or organization
                   Address (only if above is an organi=ation) Redacted pursuant to F.R.Cr.P. 49.1
                                                                ---~--------~------------------,.------
                   City and state                                                   Tel. No.
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings.,and (~) lJ<>ti
if the defendant violates a condition ofrelease.or is no longer in the custodian's custody.                                  I    i /{ C,
                                                                                                                                                ti'
                                                                                                                                                court immediately
                                                                                                                                             ~ \...L_____

                                                                              Signed: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                    Custodian             Date
    (X )       (7) The defendant must:
           (    X) (a) submit to supervision by and report for supervision to the U. S. Pretrial Services Office,
                        telephone number        501-604-5240                          ------------------------------
                                                                    , no later than "as d ~ e t r i a l Service Officer
                X) (b) continue or actively seek employment. ~ 11\,V I ~
                  ) (c) continue or start an education program.
                  ) (d) surrender any passport to:
                  ) (e) not obtain a passport or other international travel document.
                  ) (t) abide by the following restrictions on personal association, residence, or travel:

                  ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                        including:

                  ) (h) get medical or psychiatric treatment:

                     (i) return to custody each                  at           o'clock after being released at                o'clock for employment, schooling,
                         or the following purposes:

                 (i) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                     necessary.
           ( X) (k) not possess a firearm, destructive device, or other weapon.
           ( X) (I) not use alcohol ( V ) at all (           ) excessively.
           ( X) (m) not use or unlawMly possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                     medical practitioner.
                (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                     random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or ariy form of
                     prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy
                     of prohibited substance screening or testing.
                (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                     supervising officer.
                (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                     (    ) (i) Curfew. You are restricted to your residence every day (            ) from    _ _ _ _ _ to          , or (     ) as
                                  directed by the pretrial services office or supervising officer; or
                             (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services:
                                  medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations: or other
                                  activities approved in advance by the pretrial services office or supervising officer; or
                          ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                  court appearances or other activities specifically approved by the court.
                (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                     requirements and instructions provided.
                     (    ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                            supervising officer.


                                                      ""t'.:,'±:S                          .                    .
           (   X)    (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                                                                                                                                                      !":
                     tsl    ~~.:~;as.~'€'
                           ..-rests, que,ti~;ng. o,                                             ~   ~ ~
                                                                                                I ~ !..-'ll.llla-~ 9-Y'."                             o~
                           -~   - .....   (~;,



                                          Case 4:19-cr-00572-KGB Document 47 Filed 10/24/19 Page 3 of 3
#   AO 199~ (Rev. 09/08) (ARED RevJ/27/2018) .ivice of Penalties                                                  Page _ _3_ _ of _ _3_ _ Pages

                                                     :· ADVICE OF PENALTIES AND SANCTIONS
                ~
     ,.'flf   ,,,

    TO THE DEFENDANT:

    YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

           Violating any of the foregoing conditions ofrelease may result in the immediate issuance ofa warrant for your arrest, a
    revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
    imprisonment, a fine, or both.
           While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
    and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
    consecutive (i.e., in addition to) to any other sentence you receive.
           It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
    tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
    to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
    significantly more serious if they involve a killing or attempted killing.
           If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
    you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
           (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
                 not more than $250,000 or imprisoned for not more than 10 years, or both;
           (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
                 more than $250,000 or imprisoned for not more than five years, or both;
           (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
           (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
           A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
    addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                           Acknowledgment of the Defendant

           I acknowledge that I am the defendant in this case and that I am aware of the conditions ofrelease. I promise to obey all conditions
    of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.




                                                         Directions to the United States Marshal

    ( x ) The defendant is ORDERED released after processing.
    (   ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant has
          posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before the
          appropriate judge at the time and place specified.



    Date:           /b,   JA, tc,
                                                                                   Judicial Officer's Signature

                                                                             Beth Deere, U. S. Magistrate Judge

                                                                               Printed name and title


                          DISTRIBUTION:          COURT   DEFENDANT      PRETRIAL SERVICE           U.S. ATTORNEY         U.S. MARSHAL
